      Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 1 of 33. PageID #: 1




                       UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION



JORDAN WORKMAN,                                Case No.: ____________________
C/O Friedman & Gilbert
55 Public Square, Suite 1055
Cleveland, Ohio 44113,                         JUDGE DAN AARON POLSTER

And

JESSICA BARNES,
C/O Friedman & Gilbert
55 Public Square, Suite 1055                  (Jury Demand Endorsed Hereon)
Cleveland, Ohio 44113,

And

JASMINE BRUCE,
C/O Friedman & Gilbert
55 Public Square, Suite 1055
Cleveland, Ohio 44113,

And

DOMINIQUE KNOX,
C/O Friedman & Gilbert
55 Public Square, Suite 1055
Cleveland, Ohio 44113,

And

ERIC MAXWELL,
C/O Friedman & Gilbert
55 Public Square, Suite 1055
Cleveland, Ohio 44113,

And

TOMMIE PRATT,
C/O Friedman & Gilbert
55 Public Square, Suite 1055
Cleveland, Ohio 44113,




                                       1
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 2 of 33. PageID #: 2




 And

 TANIS QUACH,
 C/O Friedman & Gilbert
 55 Public Square, Suite 1055
 Cleveland, Ohio 44113,

        Plaintiffs,

 v.

 CITY OF CLEVELAND,
 Law Department
 601 Lakeside Avenue East, Room 106
 Cleveland, Ohio 44114,

 And

 MAYOR FRANK G. JACKSON,
 in his official capacity,
 C/O City of Cleveland Law Department
 601 Lakeside Avenue East, Room 106
 Cleveland, Ohio 44114,

 And

 CHIEF OF POLICE CALVIN D.
 WILLIAMS, in his official capacity,
 C/O City of Cleveland Law Department
 601 Lakeside Avenue East, Room 106
 Cleveland, Ohio 44114,

        Defendants.




                                          COMPLAINT

       1.      Plaintiffs invoke this Court’s jurisdiction to protect their rights to assemble and to

protest against Defendants without fear of retaliatory arrests and unnecessarily long custodial

detentions.




                                                 2
         Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 3 of 33. PageID #: 3




        2.      In May of 2015, Defendants had a policy – which was both announced and

demonstrated – of using arrests and custodial detentions in order to deter and incapacitate

protesters.

        3.      Defendants’ policy violated the First Amendment’s guarantee of the rights to

speech and peaceful assembly, and the Fourth Amendment’s prohibition on unreasonable

seizures.

        4.      On May 23, 2015, the individual plaintiffs and dozens of other protesters and

observers were lawfully and peacefully assembled in response to the acquittal of Cleveland

Police Officer Michael Brelo.

        5.      Without any probable cause or reasonable suspicion to believe that the protests

were unlawful, the Defendants detained and arrested protesters and observers, including

Plaintiffs, in various locations.

        6.      After some unlawful arrests had already been made, Defendants herded the

protesters and observers to a small alleyway, blocking the exits with armed officers to prevent

movement.

        7.      Minutes later, the Defendants began to arrest the protesters and observers,

ostensibly for failing to comply with an order to disperse which no one heard and which was

made impossible by the officers’ own actions in preventing exit.

        8.      All the protesters were then held in custody for this low-level misdemeanor for

nearly 36 hours because, in the City’s Deputy Chief of Police’s own words, the Defendants did

not want to “let [the protesters] back out on the streets to protest again.”

        9.      Plaintiffs ask the Court to remedy their constitutional rights in recognition of

Defendants’ effort to silence protests against the Defendants.




                                                  3
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 4 of 33. PageID #: 4




                                  JURISDICTION AND VENUE

        10.     This Court has jurisdiction over this matter pursuant to Article III of the

Constitution of the United States and 28 U.S.C. §§ 1331 and 1343(3) and (4). The relief sought is

authorized by the Constitution of the United States, 42 U.S.C. § 1983, and other law.

        11.     This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C. §

1391(b)(1) and (b)(2). The actions giving rise to this suit took place in this judicial district.

Defendant City of Cleveland is located within this judicial district. Defendants Mayor Jackson

and Chief of Police Williams, sued in their official capacities, work in this judicial district.

                                              PARTIES

                                              Plaintiffs

        12.     Jordan Workman is a 31-year-old resident of Cleveland, Ohio. At the time of the

events covered by this complaint, he was a longtime resident of the near west side of Cleveland

and active in his community.

        13.     Jessica Barnes is a 28-year-old resident of Lyndhurst, Ohio. At the time of the

events covered by this complaint, Jessica, who is the mother of three children, was a student in

the Dental Hygiene Program at Lakeland Community College. She has since graduated and is

currently employed as a dental hygienist.

        14.     Plaintiff Jasmine Bruce is a 21-year-old resident of Cleveland, Ohio. At the time

of the events covered by this complaint, Jasmine Bruce was a student at Cuyahoga Community

College.

        15.     Dominique Knox is a 25-year old resident of Cleveland, Ohio. At the time of the

events covered by this complaint, Plaintiff lived in Cleveland Heights and was an active member

of his community.




                                                   4
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 5 of 33. PageID #: 5




       16.     Eric Maxwell is a 41-year old resident of Cleveland, Ohio. At the time of the

events covered by this complaint, Eric was employed as a heating and cooling contractor and

managed his own rental properties. He has been active in his community as a kids’ sports coach.

       17.     Tommie Pratt is a 25-year-old resident of East Cleveland, Ohio. At the time of the

events covered by this complaint, Tommie worked as a contractor for TOP Marketing.

       18.     Tanis Quach is a 28-old resident of Cleveland, Ohio. At the time of the events

covered by this complaint, Tanis was a student at Cuyahoga Community College.

                                           Defendants

       19.     Defendant City of Cleveland (the “City”) is a municipal corporation located in

Cuyahoga County, Ohio.

       20.     Defendant Frank G. Jackson is the Mayor of the City of Cleveland, Ohio. He has

served in this position since January 2, 2006. As Mayor, Jackson is the executive head of the

City of Cleveland.

       21.     Defendant Calvin D. Williams is the Chief of Police of Cleveland, Ohio. He has

held this position since February 10, 2014. As the Chief of Police, Williams serves at the

pleasure of the Mayor and is the head of the Cleveland Division of Police.

                                             FACTS

                               The Brelo Verdict - May 23, 2015

       22.     On the morning of May 23, 2015, the verdict in the trial of Michael Brelo, the

Cleveland police officer charged with two counts of voluntary manslaughter for the deaths of

Timothy Russell and Malissa Williams was announced. Brelo was found not guilty.

       23.     The City of Cleveland and the Cleveland Division of Police anticipated that the

announcement of the verdict was likely to trigger protests. In anticipation of possible mass




                                                5
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 6 of 33. PageID #: 6




arrests, the City communicated with the Cleveland Municipal Court to ensure that judges would

be on call and available as needed to process all arrestees without delay.

       24.     Protests did, in fact, follow the announcement of the verdict. As the day of May

23 wore on, protesters became more numerous. Over the course of the day, hundreds of

protesters gathered across Cleveland, marching together in the streets downtown and in other

areas of the City.

       25.     Legal Observers also assembled at these protests to observe and document law

enforcement conduct in response to the protests.

                      Peaceful Demonstrations Convene Across the City

       26.     During the course of the afternoon, dozens of protesters demonstrated peacefully

in front of the Justice Center. Legal Observers were present.

       27.     That afternoon, there was also a demonstration in honor of Tamir Rice at Impett

Park in the West Park neighborhood. Legal Observers were present.

       28.     Also during the same afternoon, a large-scale demonstration with hundreds of

attendees was held at Cudell Recreation Center, the site where Tamir Rice was shot to death by a

Cleveland police officer. Legal Observers were present.

       29.     In the early evening, a large contingent of the Cudell demonstrators marched back

toward downtown. Legal Observers continued to accompany the protests.

       30.     During this march, law enforcement officers on horseback used their horses to

control and create fear among the marchers.

       31.     Also during this march, Cleveland police officers on motorcycles zipped up

behind protesters in a threatening manner.




                                                 6
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 7 of 33. PageID #: 7




       32.     The protesters and Legal Observers reached downtown and continued to march

around the downtown area.

                  Cleveland Police Make Unlawful Arrests at East 4th Street

       33.     Mid-evening, protesters funneled into East 4th Street, where they stopped, held

signs, and/or chanted as patrons at the surrounding restaurants looked on. Legal Observers

continued to accompany the protests.

       34.     Plaintiff Tanis Quach one of the protesters who stopped at East 4th Street.

       35.     Some patrons hurled verbal insults at protesters. The tension rose and someone

threw a glass, which shattered on the ground, and a brief moment of chaos erupted. Protesters

quickly moved away from the patrons and patrons went inside the restaurants.

       36.     Tanis stood peacefully several yards away with his protest sign, near a street

musician, watching as the scene calmed down.

       37.     As many protesters moved northbound toward Euclid Avenue, Tanis stood and

watched a group of police walk down East 4th Street.

       38.     As they passed him, Tanis heard one Cleveland police officer say to another

Cleveland police officer, “Grab him, too, right?” The second officer looked at Tanis, and said to

the first officer, “Grab him.”

       39.     The first officer walked to Tanis and grabbed his sign and dropped it on the

ground. Without reasonable suspicion, and without probable cause, the officer arrested Tanis,

using metal handcuffs.

       40.     The officer applied the handcuffs extremely tightly, causing Tanis to cry out in

pain. Eventually the arresting officer loosened the cuffs.




                                                 7
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 8 of 33. PageID #: 8




       41.     Tanis was not told why he was being arrested, despite repeatedly asking why he

was being detained.

       42.     Tanis had not heard police make any dispersal order prior to his arrest.

       43.     Tanis was placed into the back of a van with other arrested protesters.

       44.     Following this incident, around 8:30 p.m., Protesters, including the remaining

Plaintiffs, moved east on Euclid Avenue towards East 9th Street. The protesters were marching

peacefully, obeying police orders.

       45.     There were approximately 100 police officers, suited and equipped with riot gear,

marching as well.

      Cleveland Police Herd Remaining Protesters and Observers into Johnson Court,
       Prevent Protesters and Observers from Leaving, and Arrest the Entire Group

       46.     At approximately 9:45 PM, protesters, including Plaintiffs, marched up West 6th

Street. Their northbound progress was blocked by a police vehicle in the middle of the road.

       47.     Protesters and Legal Observers, including Plaintiffs, also saw police blocking the

street behind them. They could not turn around and go southbound down West 6th Street.

       48.     Protesters and Legal Observers, including Plaintiffs, turned left, heading

westbound into Johnson Court, a small alleyway that extends for the one block between West 6th

and West 9th Streets. The protesters were chanting and otherwise expressing themselves in a

lawful manner.

       49.     As the protesters and Legal Observers, including the remaining Plaintiffs, entered

the alley, a horde of Cleveland police officers, in full riot gear, were suddenly visible at the far

end of Johnson Court near West 9th Street, and also came from behind them at West 6th Street.




                                                  8
           Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 9 of 33. PageID #: 9




       50.      The riot-gear clad police officers then blocked both the west and east entrances to

the alley by arranging themselves into a barrier consisting of at least two rows of officers holding

shields.

       51.      Protesters, including Plaintiffs, were completely trapped inside the alley with no

way out. The scene was captured by video.

       52.      Though some protesters, including Plaintiffs, could hear officers yelling “move

back,” they were unsure of how to comply with the order because there was nowhere for the

protesters to move. It was impossible to understand what the police meant by this ambiguous

order – especially because they were shouting it from both sides.

       53.      Several protesters pleaded with the officers, asking, “Where are we supposed to

go?” and, “What do we do?”

       54.      Most of the group of protesters and Legal Observers, out of confusion and fear,

then put their hands up.

       55.      At this time, Plaintiff Jordan Workman, who had been accompanying the protests

as a Legal Observer, was standing in the crowd.

       56.      Suddenly, two police officers broke through the police line, and ran toward

Jordan, almost knocking over other protesters as they ran.

       57.      The officers grabbed Jordan and arrested him, using plastic handcuffs.

       58.      One officer asked Jordan, “Did you come out here to be arrested today?”

       59.      Jordan responded, “No, I had no intention of being arrested. I just came out to be

a legal observer and see what was going on.”




                                                  9
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 10 of 33. PageID #: 10




       60.     Some protesters wanted to approach the line of officers to ask if they could leave,

but they knew they would be arrested if they did because anyone who approached the line was

grabbed and arrested.

       61.     Officers then broke their formations and began to run and physically force

everyone onto the sidewalk. In doing this, some officers applied so much force to some

protesters that they left red marks that were still visible the next day.

       62.     Several protesters asked the officers why they could not leave, and if there was

someone in charge they could talk to. The police would not answer.

       63.     The only opening from the alleyway was a temporary small gap in the line of

officers who were blocking the west end of the alley.

       64.     Some protesters overheard that officers had opened the gap so that protesters

could leave.

       65.     Some protesters heard an officer command over a megaphone that if protesters

“didn’t want to get arrested,” they needed to “form a single-file line,” and that if they complied

they would be “free to go.”

       66.     Accordingly, some protesters formed a line so that they could exit the alley.

       67.     To their surprise, however, the officers came down the line and began to put

“flexicuffs” tightly on the protesters’ – including the remaining Plaintiffs’ – wrists, and these

protesters were arrested.

       68.     Nearly all of the protestors and onlookers inside Johnson Court – approximately

70 individuals – were arrested, including Plaintiffs.

       69.     Protesters, including Plaintiffs, were later informed that their arrest was for

“failure to disperse,” a misdemeanor.




                                                  10
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 11 of 33. PageID #: 11




        70.     Plaintiffs did not hear an order to disperse, nor could they have dispersed if such

an order was given since any available exit was blocked by lines of police officers.

        71.     Plaintiffs’ conversations among numerous other arrestees revealed that no others

had heard such an order either.

        72.     People arrested in Johnson Court were handcuffed tightly using plastic handcuffs.

        73.     Though the handcuffs caused pain, some protesters did not complain after

witnessing retaliation from officers. For example, an elderly women’s handcuffs were further

tightened by police officers when she pleaded that they were too tight.

  Protesters Are Processed and Booked in Awful Conditions at Burke Lakefront Airport

        74.     Plaintiffs and other protesters were then taken to Burke Lakefront Airport around

11:00 p.m., where they were made to sit on the concrete floor of an empty hangar.

        75.     Conditions were wretched: there were rat feces on the filthy floor, and some

protesters saw rats scurrying around the building. Requests for water, after a long and very hot

day, fell upon deaf ears.

                                           Jail Facilities

        76.     Later that night, Plaintiffs and other protesters were transported from the hangar

to the city jail on West 3rd Street.

        77.     When they arrived, though the cells were designed for one inmate, two were

placed in almost every cell. Thin, dirty mats were distributed to serve as beds.

        78.     At the city jail, several arrested protesters, including Plaintiffs Eric Maxwell, saw

bedbugs in their cells, on the bedding, and climbing onto their own clothing. They informed City

of Cleveland correctional officers about the bed bugs.




                                                 11
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 12 of 33. PageID #: 12




       79.      In response, City of Cleveland correctional officers merely sprayed an aerosol can

into the cell and moved these individuals to different cells.

       80.      After 12 hours in the city jail, some of the arrested protesters, including Jessica

Barnes, were transferred to the County Workhouse, around 1:00 p.m., now May 24, 2015. The

other protesters, including Jordan Workman, Tanis Quach, and XX, remained at the city jail

downtown.

       81.      At the Workhouse, the only drinking water available was contaminated by a

broken sewer line and was murky and discolored.

       82.      About 24 hours after their arrests, Plaintiffs and other protesters at the Workhouse

were informed that he and the others were being charged with “obstructing traffic” and “failure

to disperse.”

       83.      The arrested protesters and observers, including Plaintiffs, talked amongst

themselves. None of them had heard any police order to disperse. Even if such an order had been

given, and even if it had been heard – which it was not – police officers had made compliance

impossible by trapping the protesters inside the alley.

       84.      Some protesters, including Plaintiffs, heard the guards state that protesters were

not yet being released to prevent any disruption of a Cleveland Major League baseball game

taking place that evening.

       85.      Other protesters, including Plaintiffs, heard they would not be released due to a

Cleveland Cavaliers basketball game that night. In fact, this rationale for not releasing the

protesters was provided by multiple officers on different shifts.

       86.      Formal charges of “failure to disperse” were filed against Plaintiffs and other

protesters on the night of Sunday May 24, 2015.




                                                  12
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 13 of 33. PageID #: 13




       87.     Plaintiff Jasmine Bruce posted bond that night, and was then released from jail

around 3:00 AM on May 25, 2015.

                   Protesters and Observers Are Arraigned and Released.

       88.     Plaintiffs, except for Jasmine Bruce, along with nearly 60 protestors, were held

for another night until the morning of Monday, May 25, 2015 before they finally entered a

courtroom for an arraignment hearing.

       89.     These Plaintiffs entered a plea of not guilty to the charge of “failure to disperse.”

       90.     These Plaintiffs were released from City of Cleveland custody on May 25, 2015.

       91.     Plaintiff Jasmine Bruce, who had previously bonded out of jail, was arraigned on

May 27, 2015. She also entered a plea of not guilty to the charge of “failure to disperse.”

               Protesters and Observers Are Prosecuted Over a Period of Months,
                                and Their Cases Are Dismissed.

       92.     Plaintiffs all faced prosecution for “failure to disperse” charges in the Cleveland

Municipal Court, in Cleveland, Ohio.

       93.     Plaintiffs were forced to return to court several times over the following months,

missing school, work, and other obligations, for pre-trial hearings.

       94.     Plaintiffs lived with the stress and burden of this prosecution for the months-long

period during the pendency of the false charges.

       95.     Several months later, the false charges against Plaintiffs were finally dismissed

and the cases were terminated in Plaintiffs’ favor.

                                        Jordan Workman

       96.     Jordan joined the protests that day as a Legal Observer for the Ohio Chapter of

the National Lawyers Guild.




                                                 13
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 14 of 33. PageID #: 14




        97.        As a Legal Observer, Jordan assembled with protesters and walked with them as

they marched around the City of Cleveland.

        98.        As a Legal Observer, Jordan observed and documented law enforcement conduct

in response to the day’s protests.

        99.        On May 23, 2015, Jordan arrived in downtown early in the morning to fulfil his

role as a Legal Observer. He observed at the Impett Park protest, and then at Cuddell.

        100.       After observing at Cuddell, Jordan took a dinner break and moved his car

downtown. He rejoined the protesters, assembling with them at West 65th Street and Detroit

Avenue as they headed downtown. Once downtown, he took another rest break.

        101.       Jordan then assembled again with the protesters, who were near Prospect Avenue.

        102.       Jordan walked with the protests onto East 4th Street, where he observed the

moment of tension and brief chaos there. He witnessed some arrests of protesters and others on

East 4th Street.

        103.       Jordan then continued to move with the protest onto Euclid Avenue, which

continued to wind its way through downtown.

        104.       Jordan walked with the protesters as they moved up West 6th Street and then were

forced to enter into Johnson Court.

        105.       After the police closed in on both sides of the alley, Jordan witnessed Cleveland

police officers breaking through the police lines and plucking protesters from the alley. Then two

Cleveland police officers quickly jumped in and grabbed Jordan, as described above, using

plastic handcuffs. They did not provide a reason for his arrest. Jordan never heard a dispersal

order prior to his arrest.




                                                   14
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 15 of 33. PageID #: 15




       106.    Jordan was taken to Aviation High School, and then to the City Jail. While there,

he saw cockroaches on the filthy floors of the jail. He remained in the City Jail on the nights of

May 23 and 24, 2015.

       107.    Jordan remained in custody until he was charged and appeared in court on May

25, 2015, in Case No. 2015 CRB 010527.

       108.    Throughout the malicious prosecution of the false charges against him, Jordan

was forced to appear in court several times.

       109.    On November 9, 2015, the false charges against him were finally dismissed and

the case was terminated in his favor.

       110.    Had Jordan not been arrested and detained, he would have continued to serve as a

Legal Observer at protests on the night of May 23 and again on May 24.

       111.    After his release, Jordan experienced anxiety related to his arrest and detention.

       112.    As a result of this arrest, detention, and prosecution, Jordan has never again acted

as a Legal Observer or attended any protest. He fears being wrongfully arrested and prosecuted

again in the future.

       113.    Also as a result of this arrest, Jordan was visited at his home in 2016 by FBI

agents who attempted to interrogated him about his activities in the lead-up to the Republican

National Convention in Cleveland. The agents attempted to intimidate and harass him.

                                           Jessica Barnes

       114.    The march on May 23, 2015 was Jessica Barnes’ first protest. She followed the

Brelo case in the news and felt inspired to join the protest after she heard the verdict. She felt she

needed to join others to express her condemnation of the police action and the verdict.




                                                 15
         Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 16 of 33. PageID #: 16




         115.   Jessica drove downtown and joined the protest alone. She marched with the group

around downtown, down to Cudell Commons where she participated in a vigil in honor of Tamir

Rice, and then marched back downtown.

         116.   The protest remained peaceful and was facilitated by police officers who flanked

the marchers as they moved around the city.

         117.   As the protest moved north-bound on W. 6th Street, Jessica saw a line of police

carrying shield forming a line in front of the march, positioned to force the march onto Johnson

Court.

         118.   Jessica realized she was trapped by the police on Johnson Court. Although she

wanted to leave she could find no way out.

         119.   Jessica never heard an order to disperse at any point on March 23, 2015. She did

hear many protesters begging police to allow the group to leave, but their pleas fell upon deaf

ears.

         120.   Instead, Jessica was arrested as she stood in a single file line along with other

marchers, trying to leave Johnson Court and go home. She was not given a reason for her arrest.

         121.   Jessica remained in custody until she was charged and appeared in court on May

25, 2015, in Case No. 2015 CRB 010528. She spent these days mired in concern for the well-

being of her children, for whom she is the primary care provider.

         122.   Throughout the malicious prosecution of the false charges against her, Jessica was

forced to appear in court several times, missing school and causing great fear and distress.

         123.   On November 12, 2015, the false charges against her were finally dismissed and

the case was terminated in her favor.




                                                  16
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 17 of 33. PageID #: 17




        124.    As a result of this arrest, Jessica was visited at her home in 2016 by FBI agents

who interrogated her about her activities in the lead-up to the Republican National Convention in

Cleveland. The agents intimidated and harassed her, demanding she disclose her activities, name

of associates and affiliations.

        125.    Because of this harrowing experience during her first attempt at First Amendment

expression, Jessica is now too scared to ever join another protest. She remains concerned that

this arrest will tarnish her reputation.

                                           Jasmine Bruce

        126.    On May 25, 2015, Jasmine Bruce learned that people planned to protest the

acquittal of Michael Brelo through social media and through friends.

        127.    The news of Brelo’s acquittal was heart-wrenching to Jasmine, who had been

active in protests about the shooting death of Tamir Rice by a Cleveland police officer. Jasmine

was an activist concerned with taking a stand against police brutality and violence against the

Black community.

        128.    Jasmine felt compelled to join the protests that day because she was dismayed that

no one would be held accountable for the death of Timothy Russell and Malissa Williams.

        129.    Jasmine joined the protesters, and was present at Cudell during the vigil and rally.

        130.    After the event at Cuddell was done, she drove downtown and parked her car, and

joined the protest again, which was then in the area of the Justice Center.

        131.    Jasmine and other protesters then left the Justice Center and rushed to the area of

East 4th Street after they heard that protesters there were in need of help. She and others ran to

observe what was going on at the intersection of Euclid Avenue and East 4th Street.




                                                 17
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 18 of 33. PageID #: 18




        132.    Jasmine then re-joined the protest as it continued up Euclid Avenue to the area of

East 9th Street. At that intersection, a Cleveland police officer rode up on motorcycle and stopped

right in front of Jasmine as she and other protesters were chanting. He laid on his horn, drowning

out the sounds of the chanting, and mockingly holding his hand up to his ear, indicating that he

could not hear them.

        133.    The protest continued, and Jasmine was with the group as they entered Johnson

Court. Jasmine watched as police lines advanced into the alley from both sides. She and the other

protesters were trapped.

        134.    Jasmine heard police tell everyone to get into a line and to walk out of alley. She

and her friends followed the order, thinking they would be released after they left the alley.

Jasmine was near the very front of the line, near the West 9th Street end of the alley.

        135.    About a dozen people in front of Jasmine walked through the police line and were

let go. Just as Jasmine and her friends were about to walk through to freedom, she saw a

Cleveland police officer in a white shirt yell, “No! Arrest them now!”

        136.    Immediately following this order, riot gear-clad police began arresting the

protesters in the alley.

        137.    Police officers approached Jasmine, and applied plastic handcuffs and sat her and

everyone down on the ground. They did not tell her why she was arrested or what she was

charged with.

        138.    While the arrests were taking place, Jasmine heard two officers make statements

about how tired they were and that they were tired of “chasing” the protesters all day, and that

“this is what happens” in response to such protests.




                                                 18
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 19 of 33. PageID #: 19




       139.    Jasmine and others were transported to Aviation High School, and then to the City

Jail. In the City Jail, they had run out of room to house arrested protesters by the time Jasmine

arrived and was booked. Cleveland correctional officers placed Jasmine and two other women in

the phone call cell, which was not meant to house prisoners other than for the temporary purpose

of making phone calls. They were so cramped that they could not lie down, and there was only

one mat for the three women to share.

       140.    Half-way through the night, correctional officers moved Jasmine and the two

other women to another holding cell where another woman, who was not a protester, was already

being held.

       141.    The next morning, they moved Jasmine and the two other protester women to yet

another cell, this time having them wait inside a larger holding cell, where they had no mats and

nothing to sit on. They remained there until they were transferred to the work house later that

day.

       142.    In the work house, Jasmine observed black mold in the showers and all over the

bathrooms. Correctional officers told them arrested protesters, including Jasmine, that they had

to clean the bathroom facilities themselves. Further, the water available for drinking was

discolored and contained floating debris.

       143.    On Sunday, May 24, 2015, when the charges were finally processed for everyone

arrested at the protest, Jasmine’s mother bonded her out. She was released at approximately 3

A.M. on May 25, 2015.

       144.    Jasmine appeared in court on May 27, 2015 for an arraignment hearing in Case

No. 2015 CRB 010481.




                                                19
        Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 20 of 33. PageID #: 20




        145.   During the pendency of her criminal case, Jasmine had a part-time job and missed

work to attend pretrials. She was also traumatized by the experience to the point that she

discontinued attending school classes at Cuyahoga Community College for the rest of the

semester.

        146.   Throughout the malicious prosecution of the false charges against her, Jasmine

was forced to appear in court several times, missing school and causing great fear and distress.

        147.   On October 30, 2015, the false charges against her were finally dismissed and the

case was terminated in her favor.

        148.   Had Jasmine not been arrested and detained, she would have continued to protest

on the night of May 23 and on May 24.

        149.   As a result of her arrest, detention, and prosecution, Jasmine has not participated

in any protests since May 23, 2015. Prior to these events, she had participated regularly in

protests as activist. She is now afraid of being unlawfully arrested again while engaged in the

lawful exercise of her constitutional rights. She also fears being unlawfully held in jail, and feels

that she cannot risk protesting and the possibility of going to jail because of the cost of missing

work.

        150.   Also as a result of her arrest, in the early summer of 2016, FBI agents and/or

Cleveland police went to Jasmine’s mother’s house and attempted to inquire about her activism

activities. Jasmine was not at home but learned about this visit from law enforcement from her

mother. This visit intimidated Jasmine and caused her to be fearful.

                                         Dominique Knox

        151.   Dominque Knox had been active in the time leading up to the Brelo protest as an

activist fighting against police terror and other injustices. When he learned about Brelo’s




                                                 20
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 21 of 33. PageID #: 21




acquittal, he felt compelled to join the protests that day against the injustices suffered by

Timothy Russell and Malissa Williams.

       152.    Dominique joined the protest in the early afternoon, and was present at Cuddell,

and when the protest again reached downtown, and all the way to Johnson Court.

       153.    Dominique witnessed Cleveland police officers advancing from both sides of the

alley. He did not hear any dispersal orders. He did, however, hear police say something to the

effect of “line up against the wall, then we’ll let you go.”

       154.    Dominique and other protesters lined up, but then Cleveland police started

making arrests. Dominique was arrested. No one told him why he had been arrested or what he

was charged with.

       155.    After being transported to Aviation High School, Dominique saw rats scurrying

around as the arrested individuals were processed.

       156.    Then, in the City Jail, Dominique saw bed bugs and also saw other protesters

complain about bed bugs. He saw correctional officers spray the cell of the complaining

protesters. He was itchy and had irritated skin and some bug bites after being in the City Jail.

       157.    Dominique was then transferred to the Workhouse, where the drinking water was

discolored with floating debris, including bugs.

       158.    Dominique remained in custody until he was charged and appeared in court on

May 25, 2015, in Case No. 2015 CRB 010502.

       159.    Had Dominique not been arrested and detained, he would have continued to

protest on the night of May 23, and on May 24.

       160.    Throughout the malicious prosecution of the false charges against him,

Dominique was forced to appear in court several times.




                                                   21
       Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 22 of 33. PageID #: 22




       161.    On November 9, 2015, the false charges against him were finally dismissed and

the case was terminated in his favor.

       162.    As a result of this arrest, detention, and prosecution, Dominique fears being

wrongfully arrested and prosecuted again in the future.

       163.    Dominque was, in fact, detained without reasonable suspicion or probable cause

again by Cleveland police while protesting at a City Council meeting on October 20, 2015.

Though many people were protesting, Dominique was the only one detained. He was not

charged.

                                          Eric Maxwell

   164.    Eric Maxwell joined the protest on May 23, 2015 because he was outraged at the

           Brelo acquittal. He was also outraged at the shooting death of Tamir Rice at Cuddell

           Recreation Center, where Eric had previously coached sports teams.

   165.    Eric remained in custody until he was charged and appeared in court on May 25,

           2015, in Case No. 2015 CRB 010505. That weekend, he missed work and was unable

           to uphold his obligations to his son, who was getting ready to graduate from high

           school and attend prom. Eric not only missed work that weekend, and money needed

           to support his son’s prom activities, but he also missed his obligations to ensure that

           details for prom were in place, such as tuxedo rental, car rentals, and other tasks.

   166.    Throughout the malicious prosecution of the false charges against him, Eric was

           forced to appear in court several times.

   167.    On November 9, 2015, the false charges against him were finally dismissed and the

           case was terminated in his favor.

                                          Tommie Pratt




                                                22
  Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 23 of 33. PageID #: 23




168.   Tommie remained in custody until he was charged and appeared in court on May 25,

       2015, in Case No. 2015 CRB 010509.

169.   Throughout the malicious prosecution of the false charges against him, Tommie was

       forced to appear in court several times.

170.   On October 30, 2015, the false charges against him were finally dismissed and the

       case was terminated in his favor.

                                      Tanis Quach

171.   Tanis remained in custody until he was charged and appeared in court on May 25,

       2015, in Case No. 2015 CRB 010511.

172.   Throughout the malicious prosecution of the false charges against him, Tanis was

       forced to appear in court several times.

173.   On October 20, 2015, the false charges against him were finally dismissed and the

       case was terminated in his favor.

                  Cleveland Division of Police Admits Its Policy of
          Corralling and Detaining Protestors to Keep them off the Streets

174.   Unknown to the protesters, Cleveland Municipal Court had been prepared to process

       the arrestees on Saturday, May 24, 2015.

175.   Judges were available, and prosecutors and defense counsel were lined up to

       complete processing and arraignment.

176.   But the Division of Police did not bring protesters to court that day. Instead, the

       police delayed until Memorial Day, May 25, 2015 to bring the arrestees to court.

177.   On June 24, 2015, when Cleveland Deputy Chief of Police Dornat “Wayne”

       Drummond was asked why protesters charged with low-level misdemeanors were

       arrested instead of cited and immediately released, he explained, “I’ll let the Law



                                            23
      Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 24 of 33. PageID #: 24




          Department respond to your concerns, but from my perspective, it doesn’t make much

          sense to cite and release the protestors and let them back out on the streets to protest

          again.”

                          Ongoing Effects of May 23, 2015 Arrests

   178.   Defendants’ heavy-handed, punitive response to the May 23 protests had a large

          impact on local activists.

   179.   Many law-abiding citizens, including some Plaintiffs, are now understandably

          reluctant to attend or participate in lawful protests within the City of Cleveland.

                                       CAUSES OF ACTION

                                          COUNT ONE

Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983 Violation of First Amendment
                        Retaliation Based on Speech and Assembly

                                   (Against all Defendants)


   180.   All of the foregoing paragraphs are incorporated as though fully set forth here.

   181.   Peaceful protesting and assembly are fundamental constitutional activities protected

          by the First Amendment to the United States Constitution.

   182.   Defendants’ policy and actions of citing, arresting, and imprisoning Plaintiffs for two

          full nights and nearly a day and a half, and charging them with crimes, were at least

          partly – if not solely – motivated by Defendants’ response to the individual Plaintiffs’

          exercise of their First Amendment rights to protest and assemble peacefully.

   183.   Defendants’ policy and actions punished the individual Plaintiffs for engaging in their

          constitutionally protected activities of peaceful protest and assembly.




                                               24
      Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 25 of 33. PageID #: 25




   184.   Defendants’ policy and actions, not to “let them back on the streets,” thus constitute

          retaliation against the individual Plaintiffs for Plaintiffs’ exercise of fundamental First

          Amendment rights.

   185.   Defendants’ policy and actions would chill a person of ordinary firmness from

          engaging in the constitutionally protected activities of peaceful protest and assembly.

   186.   As a direct result of Defendants’ unconstitutional policy and practice, and the

          constitutional violations committed by Defendants, Plaintiffs have suffered serious

          personal injuries and are entitled to relief under the US Constitution and 42 U.S.C. §

          1983.

   187.   Defendants’ unconstitutional policy of retaliation against protesters has caused and

          will continue to cause irreparable harm to Plaintiffs, and the community at large, to

          engage in the constitutionally protected activities of peaceful protest and assembly.

                                          COUNT TWO

Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983 Violation of First Amendment
                                     Prior Restraint

                                   (Against all Defendants)

   188.   All of the foregoing paragraphs are incorporated as though fully set forth here.

   189.   Defendants arrested Plaintiffs and kept Plaintiffs detained for the purpose of

          preventing them from protesting later in the night on May 23, 2015 and on Sunday,

          May 24, 2015.

   190.   This unconstitutional policy and practice of Defendants prevented Plaintiffs and other

          protesters from expressing their views publicly. This policy and practice of

          Defendants imposed a prior restraint on Plaintiffs’ speech, in violation of Plaintiffs’

          Constitutional rights.



                                                25
  Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 26 of 33. PageID #: 26




191.   As a direct result of these constitutional violations committed by Defendants,

       Plaintiffs have suffered and continue to suffer serious personal injuries and are

       entitled to relief under the US Constitution and 42 U.S.C. § 1983.

192.   Defendants’ unconstitutional policy of prior restraint of speech poses irreparable

       injury to the rights of all of the Plaintiffs, and of the community at large, to engage in

       the constitutionally protected activities of peaceful protest and assembly.

                                      COUNT THREE

 Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983 Violation of Fourth
Amendment Right to be Free of Unlawful Seizure: Seizure by Restricting Plaintiffs’
           Movement in Johnson Court Without Reasonable Suspicion

                                (Against all Defendants)

193.   All of the foregoing paragraphs are incorporated as though fully set forth here.

194.   Defendants, acting through their agents in the police department, caused Plaintiffs to

       be trapped in Johnson Court by herding them into a confined space and blocking all

       available exits.

195.   The Fourth Amendment requires that restrictions on movement and liberty be

       carefully justified by objective facts showing reasonable suspicion or probable cause

       to believe that the individual had committed a crime.

196.   When they herded the protesters into Johnson Court, Cleveland police officers had no

       reasonable suspicion or probable cause to believe that Plaintiffs or the protesters or

       Legal Observers or any particular protester in the group had violated any law.

197.   By restricting the protesters movement into Johnson Court without reasonable

       suspicion or probable cause, Defendants subjected Plaintiffs to an unreasonable

       seizure in violation of the Fourth Amendment.




                                             26
  Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 27 of 33. PageID #: 27




198.   As a direct result of these constitutional violations committed by Defendants,

       Plaintiffs have suffered and continue to suffer serious personal injuries, and are

       entitled to relief under the federal constitution and 42 U.S.C. § 1983.

                                      COUNT FOUR

 Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983 Violation of Fourth
                               Amendment Rights
        Unlawful Seizure By Arresting Plaintiffs Without Probable Cause

                                (Against all Defendants)

199.   All of the foregoing paragraphs are incorporated as though fully set forth here.

200.   Plaintiffs were charged under Cleveland’s “failure to disperse” ordinance, which

       states that, “No person shall knowingly fail to obey such order.” (emphasis added)

       Cleveland, Ohio Municipal Code § 605.02.

201.   However, Plaintiffs did not hear an order, assuming in fact that any such order was

       given. If an order was given, it was not reasonably calculated to be heard by the

       protesters.

202.   Without knowledge of such an order, Plaintiffs could not have “knowingly” failed to

       obey the order. The City’s officers were made aware of this in Johnson Court by the

       numerous requests for clarification made by the protesters.

203.   Alternatively, even assuming arguendo an order had been given, and Plaintiffs heard

       the order, compliance was made impossible since police did not allow protesters to

       disperse, either by immediately arresting them or by blocking the only exits from

       Johnson Court.

204.   Because Plaintiffs were unaware of any order to disperse—again, assuming such

       order was given—and because compliance with any order was rendered impossible




                                            27
  Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 28 of 33. PageID #: 28




       by the Cleveland police department, Plaintiffs’ arrests and subsequent imprisonment

       for “failure to disperse” were without probable cause.

205.   By arresting and imprisoning Plaintiffs without probable cause, Defendants violated

       Plaintiffs’ Fourth Amendment right to be free from unreasonable seizures.

206.   As a direct result of these constitutional violations committed by Defendants,

       Plaintiffs have suffered and continue to suffer serious personal injuries and are

       entitled to relief under the federal constitution and 42 U.S.C. § 1983.

                                      COUNT FIVE

 Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983 Violation of Fourth
                               Amendment Rights
                     Unlawful Seizure – Extended Detention

                                (Against all Defendants)

207.   All of the foregoing paragraphs are incorporated as though fully set forth here.

208.   Plaintiffs were charged under Cleveland’s “failure to disperse” ordinance, § 605.02,

       which is a misdemeanor.

209.   The courts, prosecutors, and public defenders were all ready and available to process

       the protesters on Sunday, May 24, 2015. However, Defendants caused the protesters

       to not be brought before the available judges or released from custody. The delay was

       unnecessary, and motivated to interfere with and retaliate against the exercise of

       constitutional rights.

210.   Defendants’ policy and practice of holding protesters in custody for longer than

       necessary, and increasing the length of custody for an improper motive, violated

       Plaintiffs’ Fourth Amendment right to be free from an unreasonable seizure.




                                            28
   Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 29 of 33. PageID #: 29




211.   As a direct result of these constitutional violations committed by Defendants,

       Plaintiffs have suffered and continue to suffer serious personal injuries and are

       entitled to relief under the federal constitution and 42 U.S.C. § 1983.

212.   Defendants’ unconstitutional policy of holding protesters in custody for the improper

       motive of keeping them from protesting threatens the rights of all of the Plaintiffs,

       and of the community at large, to engage in the constitutionally protected activities of

       peaceful protest and assembly without facing unnecessarily long detentions.

                                       COUNT SIX

            Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983
                               Malicious Prosecution

                                (Against all Defendants)

213.   All of the foregoing paragraphs are incorporated as though fully set forth here.

214.   In the manner described more fully above, Defendants and/or

       employees/subordinates/agents of Defendants, acting individually, jointly and in

       conspiracy with each other, instigated, influenced or participated in the decision to

       prosecute Plaintiffs, knowing there was no probable cause for the criminal

       prosecution.

215.   The charges were terminated in favor of Plaintiffs.

216. Defendants and/or employees/subordinates/agents of Defendants accused Plaintiffs of
       criminal activity knowing those accusations to be without genuine probable cause.

217. Defendants and/or employees/subordinates/agents of Defendants made statements to
       prosecutors with the intent of exerting influence to institute and continue the judicial

       proceedings.




                                            29
   Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 30 of 33. PageID #: 30




218. Defendants and/or employees/subordinates/agents of Defendants, acting individually,
       jointly, and in conspiracy with each other, deliberately engaged in arbitrary and

       conscience-shocking conduct that contravened fundamental canons of decency and

       fairness and violated Plaintiffs’ substantive due process rights and in violation of the

       Fourteenth and Fourth Amendments to the United States Constitution.

219. Defendants and/or employees/subordinates/agents of Defendants acted under color of
       law and within the scope of their employment when they took these actions.

220. As a direct and proximate cause of Defendants’ and/or their
       employees’/subordinates’/agents’ misconduct, Plaintiffs suffered and continue to

       suffer injury and damages as set forth in this Complaint.

                                      COUNT SEVEN

            Constitutional and Civil Rights Pursuant to 42 U.S.C. § 1983
                                    Monell claim
                       (Against Defendant City of Cleveland)

221.   All of the foregoing paragraphs are incorporated as though fully set forth here.

222.   The constitutional violations by Defendants and/or their employees/subordinates/

       agents as set forth in this Complaint are not an isolated incident.

223.   The conduct of Defendants and/or their employees/subordinates/agents as set forth in

       this Complaint resulted from and were taken pursuant to City of Cleveland policies

       (even if not official written edicts), practices, and/or customs of civil rights violations

       and unconstitutional practices.

224.   Moreover, the conduct of Defendants Mayor Frank Jackson and Chief of Police

       Calvin Williams and/or their employees/subordinates/agents demonstrates the City of




                                             30
  Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 31 of 33. PageID #: 31




       Cleveland’s custom of tolerance or acquiescence of civil rights violations and

       unconstitutional practices.

225.   In addition, Defendants Mayor Frank Jackson and Chief of Police Calvin Williams

       were final policymakers with regard to the events at issue in this Complaint. Their

       roles as policymakers subjects the City of Cleveland to liability under the Monell

       doctrine.

226.   The City of Cleveland, at all times relevant herein, approved, authorized, and

       acquiesced in the unlawful and unconstitutional conduct of its respective employees

       and/or agents and consequently is directly liable for the acts of those agents, pursuant

       to 42 U.S.C. § 1983.

227.   Alternatively, the conduct of various Cleveland Police Officers as set forth in this

       Complaint demonstrate that they are inadequately trained and supervised by

       Defendant City of Cleveland and/or demonstrates a custom of tolerance or

       acquiescence by Defendant City of Cleveland of civil rights violations, and/or shows

       Defendant City of Cleveland’s policies (even if not official written edicts), practices,

       and/or customs of unconstitutional practices with regard to properly respecting

       Constitutional Rights as described above. Therefore, Defendant City of Cleveland is

       liable pursuant to the Monell doctrine and 42 U.S.C. § 1983.

228.   As a direct and proximate result of Defendant City of Cleveland’s actions and

       omissions, Plaintiffs suffered and continue to suffer injuries and damages as set forth

       in this Complaint.




                                            31
      Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 32 of 33. PageID #: 32




                                    PRAYER FOR RELIEF

       Plaintiffs request that this Court enter judgment against Defendants City of Cleveland,

Jackson, and Williams providing the following relief:

       A.     Damages in whatever amount Plaintiffs are found to be entitled;

       B.     Injunctive Relief and Declaratory Relief;

       B.     An award of interest, costs, and attorney’s fees pursuant to 42 U.S.C. Section

              1988; and

       C.     All other relief which this Honorable Court deems equitable and just.



                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.




                                              Respectfully Submitted,


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                                                 32
Case: 1:17-cv-01074-JG Doc #: 1 Filed: 05/22/17 33 of 33. PageID #: 33




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                                 33
